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 So Ordered.                                        ____________________________
                                                                   Diane Davis
 Signed this 15 day of February, 2019.                   United States Bankruptcy Judge




    UNITED STATES BANKRUPTCY COURT
    NORTHERN DISTRICT OF NEW YORK
    _____________________________________
    In Re:                                               Case No. 13-62035-6-dd
           Vincent D. Iocovozzi                          Chapter 13
                         Debtor
    ____________________________________


                  CONSENT ORDER MODIFYING CHAPTER 13 PLAN

           The Debtor, Vincent D. Iocovozzi, filed a voluntary petition for relief pursuant to

    Chapter 13 of the United States Bankruptcy Code on December 20, 2013. The Debtor’s

    five year Chapter 13 Plan was confirmed by Order of Confirmation on January 22, 2015,

    and provides a 100% dividend to unsecured creditors. The dividend, however, was

    subject to change due to three outstanding matters: (1) the Debtor’s divorce action;

    (2) the Debtor’s legal malpractice action; and (3) the foreclosure action on the “camp”

    property in the Town of Exeter, Otsego County. Now that these three matters have been

    concluded, the Plan is unfeasible at one hundred percent (100%).

           On October 22, 2018, the Debtor filed a Motion to Modify his Chapter 13 Plan to

    reduce his Plan payments from sixty to fifty seven months, and to decrease the dividend

    to GPO Federal Credit Union and Ally Bank to less than ten percent (10%). Notice was
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    properly served on all creditors. The Chapter 13 Trustee filed an objection on November

    15, 2018, alleging that there appeared to be sufficient equity in the Debtor’s real property

    to provide a much higher dividend than what the Debtor proposed. GPO filed an

    Objection on November 6, 2018. Ally Bank, the only other unsecured creditor, did not

    file any response.

           The parties have now reached a settlement as follows:

           (1) The Debtor’s Plan is modified to provide for no Plan payments in November

    2018, December 2018, January 2019, and February 2019, as he has been dealing with a

    loss in income due to the fire at the Herkimer funeral home.

           (2) The Debtor will commence making Plan payments of nine hundred dollars

    ($900.00) on March 20, 2019, for twelve months, with his last payment being due on

    February 20, 2020.

           (3) The payments to GPO and Ally Bank will be prorated.

           (4) The Chapter 13 Trustee will make no further payments on claims 8 (Lacy

    Katzen) and 13 (Estate of Mary Iocovozzi). Claims 8 and 13 are secured claims, and are

    due to be paid fully (claim 8, per settlement) and partially (claim 13) out of the funds

    from the sales of the two apartment buildings.

           The Chapter 13 Trustee estimates that the unsecured dividend will be

    approximately twelve percent (12%).

           Based upon the foregoing,

           IT IS ORDERED that the Debtor’s Plan is modified to provide for no Plan

    payments from November 2018 through February 2019; for Plan payments of $900.00

    per month from March 2019 through February 2020; for prorated payments through the
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    Plan to GPO and Ally Bank; for no further payments on claims 8 and 13 from these Plan

    funds; and for a decrease in the unsecured dividend from one hundred percent (100%) to

    approximately twelve percent (12%).

           SO ORDERED.


    Consented to:

    /s/ Carol Malz         ____________
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    /s/ Mark W. Swimelar       _____________
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